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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                              CASE NO. 21-80669-CV-MIDDLEBROOKS

    ORTHOPAEDIC CARE SPECIALISTS, P.L.,

           Plaintiff,

    V.

    UNITED HEALTHCARE SERVICES, INC.,
    UNITEDHEALTHCARE INSURANCE
    COMPANY, and GOLDEN RULE INSURANCE
    COMPANY,

           Defendants.
    ________________./
                                                    ORDER

           THIS CAUSE comes before the Court on the Parties' Joint Motion for Enlargement of

    Scheduling Order Deadlines ("Motion"), filed on October 29, 2021. (DE 27). This matter is

    currently set for trial on this Court's two-week calendar commencing January 18, 2022. (DE 7).

    The Parties now seek a 60-day extension of all pretrial deadlines and a corresponding continuance

    of the trial date. (DE 27). The Motion fails to set forth good cause for the broad relief requested,

    and it is therefore denied without prejudice.

           Rule 16 of the Federal Rules of Civil Procedure requires the Court to issue an order setting

    forth the schedule upon which the case will proceed. Fed. R. Civ. P. 16(b). This schedule will be

    modified "only for good cause." Fed. R. Civ. P. 16(b)(4). The good cause standard "precludes

    modification unless the schedule cannot 'be met despite the diligence of the party seeking the

    extension."' Sosa v. Airprint Sys., Inc., 133 F.3d 1417, 1418 (11th Cir. 1998) (citing Fed. R. Civ. _

    P. 16 advisory committee's note). "If a party was not diligent, the good cause inquiry should end."

    Id. (quoting Johnson v. Mammoth Recreations, Inc., 975 F.2d 604, 609 (9th Cir.1992)).




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           Here, the Parties request a two-month extension of all deadlines for several reasons. The

    Parties cite to the pendency of Defendants' Motion to Dismiss, the possibility that additional

    discovery will be needed following a ruling on that motion, the existence of outstanding subpoenas

    to third-parties, the fact that additional time will "foster the prospect of resolution" out of court,

    and potential conflicts with the trial date and calendar call.

           I am not persuaded of the need to delay the entire litigation schedule for two months based

    on the facts set forth in this Motion. As an initial matter, the filing of a motion to dismiss is not

    good cause for a 2-month continuance, even if the issue involved in the motion is potentially case

    dispositive. I will rule on the motion to dismiss in due course, and the pendency of that motion

    does not automatically stay any of the litigation deadlines set forth in the Pretrial Scheduling Order.

           Moreover, the reliance upon a generalized need for additional time to conduct discovery

    that may become necessary following my ruling on the Motion to Dismiss is unpersuasive. That is

    too speculative a basis upon which to grant the requested extension. And while I encourage the

    Parties to continue exploring a negotiated resolution of this case, I do not view the Parties' ongoing

    settlement talks as providing good cause to modify any pretrial deadlines.

           The Parties do, however, point to one specific discovery-related obstacle. The Parties state

    that discovery of a nonparty became necessary, and non-party subpoenas were served on October

    6, 2021 to which responsive documents have not yet been received. However, the Parties' need for

    additional discovery in response to those subpoenas, at present, is speculative. The Parties state

    that upon receiving responsive documents, they may need to depose witnesses identified in the

    outstanding productions. If further discovery becomes necessary, the Parties may file another

    motion, and, if the need is well-explained, I will consider reopening discovery for the limited




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    purpose of allowing the Parties to follow up on information arising out of the third-party subpoena

    production.

           The Parties additionally cite a potential conflict during the trial period, stating that defense

    counsel will be in an arbitration set for final hearing from January 4, 2022 through January 7, 2022

    and January 10, 2022 through January 14, 2022. 1 As such, the Parties state that the arbitration

    conflicts with the January 12, 2022 calendar call, and the arbitration proceedings will prevent

    counsel from fully preparing for trial, which is scheduled on this court's two week calendar

    commencing January 18, 2022. As an initial matter, I note that the arbitration proceedings do not

    actually conflict with the trial date in this case. I recognize that defense counsel has a busy

    schedule, and while the court understands and appreciates the time demands often placed on

    litigators when matters are set in close proximity, this is an issue which counsel ought to be capable

    of resolving with sufficient preparation and advance planning. Moreover, I will make an effort to

    accommodate counsel's schedule by calling this case during the second week of the trial period

    should that be helpful.

           Counsel's arbitration does appear to conflict with the January 12th calendar call, and so I

    will reschedule that hearing to January 3, 2022.

           Finally, although I am not persuaded of the need for a two-month continuance for the

    reasons explained above, it does appear that the November 15, 2021 dispositive motions deadline

    is impracticable. Therefore I will stay that deadline only until after I rule on Defendants' pending

    Motion to Dismiss. All other deadlines shall remain unchanged at this time. If necessary, I will

    revisit other aspects of the pretrial schedule after the pending motion is resolved.




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      The Parties cite to the year 2021 for the above stated date ranges. I assume that the Parties
    intended to cite to the year 2022.


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                                            CONCLUSION

          For the foregoing reasons, it is ORDERED AND ADJUDGED that:

          (1) The Parties' Joint Motion for Enlargement of Scheduling Order Deadlines (DE 27) is

             DENIED.

          (2) The deadline to file dispositive motions, including motions in limine, is STAYED until

             further Order of this court.

          (3) The Calendar Call in this matter is RESCHEDULED from January 12, 2022, to

             January 3, 2022, at 1:15 p.m., in West Palm Beach, Florida.

          (4) The Parties are reminded that they may consent to the jurisdiction of United States

             Magistrate Judge William Matthewman, who generally allows the Parties great

             flexibility in setting the course and schedule, including the trial date, of their case. The

             consent form can be found at Appendix A of the Pretrial Schedul"




                                                              b M. MIDDLEBROOKS
                                                        UNITED STATES DISTRICT JUDGE


    cc:   All Counsel of Record




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